                           Case 2:20-cr-00029-BD Document 9 Filed 10/06/20 Page 1 of 4
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet I




                                                                           )
              UNITED STATES OF AMERICA                                     )
                                  V.                                       )
                                                                           )
                           Keith Ward                                      )       Case Number: 2:20-CR-29-BD-l
                                                                           )       USM Number: 29920-076
                                                                           )
                                                                           )        Molly Sullivan
                                                                           )       Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)           1 of the Misdemeanor Information, a Class A misdemeanor
0 pleaded nolo contendere to count(s)
   which was accepted by the court.
0 was found guilty on count(s)
   after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                            Offense Ended
18 U.S.C. § 179l(a)(2)            Possession of Prohibited Object in Prison - Cell Phone                        3/4/2019                     1



       The defendant is sentenced as provided in pages 2 through          __4_ _          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)
• Count(s)                                               O is      Oare dismissed on the motion of the United States.

          It is ordered that the defendant must notify the United States attorney for this district within 30 da}"s of any chan_ge of name, residence,
or mailing_ address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defen<lant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                                                     September 29, 2020
                                                                          Date of Imposition of Judgment



                                                                         s;Jitltl1-=
                                                                                         Beth Deere, U.S. Magistrate Judge
                                                                         Name and Title of Judge


                                                                                                           October 6, 2020
                                                                          Date
                            Case 2:20-cr-00029-BD Document 9 Filed 10/06/20 Page 2 of 4
AO 245B (Rev. 09/19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment

                                                                                                        Judgment - Page   -=2-   of   4
 DEFENDANT: Keith Ward
 CASE NUMBER: 2:20-CR-29-BD-1

                                                                IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
                  four months to run consecutive to the sentence being served. Upon completion, there
                  will not be a period of supervised release.


      D      The court makes the following recommendations to the Bureau of Prisons:




      !ill   The defendant is remanded to the custody of the United States Marshal.

      D      The defendant shall surrender to the United States Marshal for this district:

             D   at                                D     a.m.     D   p.m.     on
                      ---------
             D   as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             D   before 2 p.m. on

             D as notified by the United States Marshal.
             D as notified by the Probation or Pretrial Services Office.


                                                                      RETURN

 I have executed this judgment as follows:




             Defendant delivered on                                                          to

 at                                                    , with a certified copy of this judgment.
      ---------------

                                                                                                      UNITED STATES MARSHAL



                                                                             By----------------------
                                                                                                   DEPUTY UNITED STATES MARSHAL
                           Case 2:20-cr-00029-BD Document 9 Filed 10/06/20 Page 3 of 4
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                    Judgment - Page _....___    of
 DEFENDANT: Keith Ward
 CASE NUMBER: 2:20-CR-29-BD-l
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment             Restitution               Fine                AV AA Assessment•            JVTA Assessment••
TOTALS            S 25.00                   S 0.00                 S 0.00                  S 0.00                    s   0.00


 D The determination ofrestitution is deferred until - - - - -. An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority or~er or perc~ntage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the Umted States 1s paid.

 Name of Payee                                                 Total Loss***               Restitution Ordered      Priority or Percentage




 TOTALS                               $
                                          - - - - - - -0.00
                                                        --
                                                                               $
                                                                                   - - - - - - - -0.00
                                                                                                   --


 D     Restitution amount ordered pursuant to plea agreement $
                                                                        ----------
 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the            D fine     D restitution.
       D the interest requirement for the           D fine      D restitution is modified as follows:

 • Amy, Vickyi :tnd Andy Child Pornography Victim Assistance Act of 2018. Pub. L. No. 115-299.
 ** Justice for victims of Trafficking A.ct of 2015, Pub. L. No. 114-22.
 ••• Findings for the total amount oflosses are required under Chapters 109A, 110, l IOA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
AO 2458 (Rev. 09/19)
                           Case 2:20-cr-00029-BD Document 9 Filed 10/06/20 Page 4 of 4
                       Judgment in a Criminal Case
                       Sheet 6 - Schedule of Payments

                                                                                                               Judgment - Page   -~4-       of     4
 DEFENDANT: Keith Ward
 CASE NUMBER: 2:20-CR-29-BD-1

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ~    Lump sum payment of$          25.00                  due immediately, balance due


            •     not later than                                     , or
            •     in accordance with     •    C,
                                                    •    D,
                                                                 •    E, or     O F below; or

 B    •     Payment to begin immediately (may be combined with                • c.        OD,or        0 F below); or

 C     O    Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D     O    Payment in equal        _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
                            (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E     O    Payment during the term of supervised release will commence within _ _ _ _ _ (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     O    Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 0     Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                     Joint and Several                Corr~sponding_ Payee,
       (including defendant number)                           Total Amount                       Amount                          1f appropnate




 0     The defendant shall pay the cost of prosecution.

 0     The defendant shall pay the following court cost(s):

 0     The defendant shall forfeit the defendant's interest in the following property to the United States:



 Payments shall be a_pplied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (IO) costs, mcluding cost of
 prosecution and court costs.
